Case 4:11-cv-00720-JED-PJC Document 551 Filed in USDC ND/OK on 09/22/17 Page 1 of 25




                                NO. 11-CV-720-JED-PJC

   ______________________________________________________________________________

                   IN THE UNITED STATES DISTRICT COURT FOR
                     THE NORTHERN DISTRICT OF OKLAHOMA
   ______________________________________________________________________________

                               ROBBIE EMERY BURKE,
                       as the Special Administratrix of Elliott Earl
                                   Williams, Deceased,
                                        Plaintiff,

                                            v.

                               STANLEY GLANZ, et. al. ,

                                       Defendants.

   ______________________________________________________________________________

               DEFENDANTS STANLEY GLANZ AND VIC REGALADO’S
       RESPONSE IN OBJECTION TO PLAINTIFF’S MOTION FOR ATTORNEY’S
                           FEES AND EXPENSES (Dkt. 543)
   ______________________________________________________________________________




                                         Clark O. Brewster, OBA #1114
                                         Guy A. Fortney, OBA #17027
                                         Katie S. Arnold, OBA #32345
                                         BREWSTER &DE ANGELIS, PLLC
                                         2617 E. 21st Street
                                         Tulsa, OK 74114
                                         Tel: (918) 742-2021
                                         Fax: (918) 742-2197

                                         Attorneys for Defendants Stanley Glanz
                                         and Vic Regalado
Case 4:11-cv-00720-JED-PJC Document 551 Filed in USDC ND/OK on 09/22/17 Page 2 of 25




                                                     TABLE OF CONTENTS

   TABLE OF AUTHORITIES .......................................................................................................... ii
   I. PROCEDURAL SUMMARY ................................................................................................... 1
   II. ARGUMENTS AND AUTHORITIES ..................................................................................... 5
                  A. The requested hourly rate is unreasonable .............................................................. 6
                  B. The requested number of hours is unreasonable ..................................................... 8
                       1. Time billed relating to prosecuting Plaintiff’s case against other Defendants 11
                       2. Don and Dan Smolen duplicative and identical billing ................................... 12
                       3. Tom Mortenson’s application should be denied in its entirety as duplicative,
                          block billing and vague .................................................................................... 13
                       4. Bullock’s billing during trial should be excluded as not necessary to the
                          litigation............................................................................................................ 14
                             a. Denney’s billing consists of duplicative block billing .............................. 14
                             b. Guardianship, contracting with Plaintiff, and fee agreements between
                                Plaintiff’s counsel ....................................................................................... 15
                             c. The fee application contains extensive duplication and the total number of
                                hours for certain tasks is excessive............................................................. 15
                                  1) Original and First Amended Complaint .............................................. 15
                                  2) Mediation ............................................................................................. 16
                                  3) Joint Status Report ................................................................................ 17
                             d. The fee application contains inadequate description details, which deprives
                                the Court an opportunity for meaningful review of the reasonableness of
                                the activity................................................................................................. 18
   III. EXPERT TESTIMONY ......................................................................................................... 18
   IV. CONCLUSION....................................................................................................................... 18




                                                                         i
Case 4:11-cv-00720-JED-PJC Document 551 Filed in USDC ND/OK on 09/22/17 Page 3 of 25




   Cases

   Bell v. Bd. of Cnty. Comm’rs of Jefferson Cnty.,
    451 F.3d 1097 (10th Cir. 2006) ................................................................................................ 5, 6

   Blum v. Stenson,
    465 U.S. 886 (1984) ..................................................................................................................... 7

   Case v. Unified School District No. 233,
    157 F.3d 1243(10th Cir. 1998) ..................................................................................................... 6

   Copeland v. Marshall,
    641 F.2d 880 (1980) ............................................................................................................... 9, 10

   Cunico v. Pueblo School Dist. No. 60,
    705 F. Supp. 1466 (D. Colo. 1988) .................................................................................. 8, 12, 13

   Dill v. City of Edmond,
    72 F. App’x 753 (10th Cir. 2003) ................................................................................................ 6

   Ellis v. University of Kansas Medical Center,
    163 F.3d 1186 (10th Cir. 1998) .................................................................................................... 9

   Hensley v. Eckerhart,
    461 U.S. 424, 103 S. Ct 1933. ...................................................................................................... 6

   In re Cascade Oil Co.,
     126 B.R. 99......................................................................................................................... 8, 9, 10

   Mares v. Credit Bureau of Raton,
    801 F.2d 1197 (10th Cir. 1986) .................................................................................................... 6

   Oklahoma Natural Gas Co. v. Apache Corp.,
    355 F.Supp.2d 1246 (2004) ...................................................................................... 14, 15, 16, 18

   Pennsylvania v. Delaware Valley Citizens Council for Clean Air,
    478 U.S. 546, 106 S. Ct. 3088 (1986) .......................................................................................... 6

   Perdue v. Kenny A.,
    130 S. Ct. 1662 (2010) ................................................................................................................. 5


                                                                         ii
Case 4:11-cv-00720-JED-PJC Document 551 Filed in USDC ND/OK on 09/22/17 Page 4 of 25




   Phelps v. Hamilton,
    120 F.3d 1126 (10th Cir. 1997) .................................................................................................... 6

   Ramos v. Lamm,
    713 F.2d 546 (10th Cir. 1983) ............................................................................................. Passim

   Robinson v. City of Edmond,
    160 F.3d 1275 (10th Cir. 1998) ........................................................................................... Passim

   Sussman v. Patterson,
    108 F.3d 1206 (10th Cir. 1997) .................................................................................................... 9

   Rules

   Fed. R. Civ. P. 50(b) ....................................................................................................................... 5
   Fed. R. Civ. P. 59(e) ....................................................................................................................... 5




                                                                         iii
Case 4:11-cv-00720-JED-PJC Document 551 Filed in USDC ND/OK on 09/22/17 Page 5 of 25




                           DEFENDANTS’ RESPONSE TO PLAINTIFF’S
                         MOTION FOR ATTORNEY’S FEES AND EXPENSES

           Defendants, by and through their attorneys, submit Defendants’ Response to Plaintiff’s

   Motion for Attorney’s Fees and Expenses. [Dkt. No. 543]. Plaintiff’s Motion for Attorney’s Fees

   and Expenses should be denied as it is unreasonable.

           I.       PROCEDURAL SUMMARY

           On November 17, 2011, Elia Patricia Lara-Williams (“Ms. Williams”) brought suit

   against Stanley Glanz, in his individual capacity for supervisory liability, and also in his official

   capacity1, Correctional Healthcare Management, and Does I through XX. (Dkt. No. 2). In her

   first Complaint, Plaintiff failed to name any individual subordinate defendants, detention officers

   or medical personal that violated decedent’s civil rights. Id. On March 16, 2012, Ms. Williams

   amended her complaint adding several defendants including Earnie Chappell, R.N.; Carmen

   Luca, L.P.N.; and Julie Hightower (all employees of Correctional Healthcare) and several

   Owasso Police Officers identifying and alleging that each new identified and named defendant

   individually violated decedent’s civil rights. (Dkt. No. 4). On April 16, 2012, Ms. Burke filed

   the Second Amended Complaint, as the Special Administratrix of Mr. Williams’ Estate (Dkt. No.

   15). Plaintiff Burke’s Second Amended Complaint did not add any new defendants but reduced

   the number of Does from 20 to 10. Id. The named, complained of and identified individual

   defendants remained Earnie Chappell, R.N.; Carmen Luca, L.P.N.; and Julie Hightower.

   Plaintiff alleged that medical personnel employed by CHC were both negligent and violated the

   civil rights of Elliot Williams causing his death. Id. Other than supervisory, official capacity,

   Monell and negligence claims, Plaintiff did not identify and name any other individuals who


   1
    Stanley Glanz is no longer the Tulsa County Sheriff. The new Sheriff, Vic Regalado, was substituted in place of
   Mr. Glanz on the official capacity claim. Mr. Glanz continues to be a party in his individual capacity.


                                                           1
Case 4:11-cv-00720-JED-PJC Document 551 Filed in USDC ND/OK on 09/22/17 Page 6 of 25




   violated Mr. Williams’ civil rights through direct contact with him.

           Concerning Defendant Earnie Chappell, Plaintiff alleged that she was “an employee

   and/or agent of CHMO/CHC/CHM, who was, in part, responsible for overseeing Mr. Williams’

   health and well-being, and assuring that Mr. Williams’ medical and mental health needs were

   met, during the time he was in the custody of the Sheriff’s Department.” Id. at ¶ 16. Further,

   that despite Mr. Williams’ obvious, serious and emergent medical and mental health needs

   Defendant Chappell did not transport Mr. Williams to a hospital or mental health facility. In

   addition, Defendant Chappell failed to provide a CT scan, MRI, or any other diagnostic

   assessment or treatment related to the apparent head trauma.” Id. at ¶ 44. Plaintiff alleged

   Defendant Chappell, who escorted Mr. Williams on his ride down to the medical unit, indicated

   that she thought Mr. Williams was faking injury. Defendant Chappell became agitated with Mr.

   Williams and said he was “full of shit.” At one point, Defendant Chappell expressed frustration

   with having to attend to Mr. Williams, stating that she had “too much stuff to do.” Id. at ¶ 47.

   Plaintiff alleged Defendant Chappell made no attempt to secure any mental health or medical

   treatment for Mr. Williams. Defendant Chappell failed to provide a CT scan, MRI, or any other

   diagnostic assessment or treatment related to the apparent head trauma. Instead, Defendant

   Chappell disregarded the known, obvious and excessive risks to Mr. Williams’ health and safety.

   Id. at ¶ 48.

           Concerning Defendants Carmen Luca and Julie Hightower, Plaintiff alleged that both

   were employees and/or agents of CHMO/CHC/CHM, who was, in part, responsible for

   overseeing Mr. Williams’ health and well-being, and assuring that Mr. Williams’ medical and

   mental health needs were met, during the time he was in the custody of the Sheriff’s Department.

   Id. at ¶¶ 17 and 18. Additionally, on October 27, 2011, Defendants Luca and Hightower were on



                                                   2
Case 4:11-cv-00720-JED-PJC Document 551 Filed in USDC ND/OK on 09/22/17 Page 7 of 25




   duty in the medical unit. At the time, Defendant Luca had been a nurse at the Jail for

   approximately one week. Defendant Luca was assigned to the north section of the medical unit,

   where Mr. Williams’ suicide cell was, and Defendant Hightower was assigned to the south

   section of the medical unit. Id. at ¶ 53. Plaintiff alleged at some point on October 27, Mr.

   Williams collapsed in his cell, and there was a call of “man down.” Plaintiff alleged Defendants

   Luca and Hightower entered Mr. Williams’ cell. However, on information and belief, Defendant

   Luca refused to get on the floor to administer CPR on Mr. Williams. Defendant Luca indicated

   that she would only administer CPR while standing up. Defendant Luca attempted to perform

   CPR on Mr. Williams while standing. Plaintiff alleged Defendant Luca, Defendant Hightower, or

   both, did not perform the adequate and proper number of chest compressions. Id. at ¶ 54. On

   information and belief, neither Defendant Luca nor Defendant Hightower ever took Mr.

   Williams’ vital signs at any time while he was in the medical unit. On information and belief,

   Defendant Luca, Defendant Hightower, or both, failed to adequately monitor and document Mr.

   Williams’ condition while he was in the medical unit. Id. at ¶ 55. Defendant Luca and Defendant

   Hightower failed to resuscitate Mr. Williams. Id. at ¶ 56.

          These are the only specified allegations of conduct which may violate the rights of Elliot

   Williams. These are the only specified and identified subordinate actors who are alleged to have

   violated the civil rights of Elliot Williams. The pleadings make it apparent that the underlying

   conduct that was at issue in this case was the conduct of CHC employees and their care and

   treatment of Elliot Williams.

           In early May of 2012, all Defendants submitted answers and on May 9, 2012 a Joint

   Status Report was submitted (Dkt. No. 37) and the First Scheduling Order was entered by the

   Court on July 12, 2012. (Dkt. No. 47). Depositions began in February of 2013. Out of a total of



                                                   3
Case 4:11-cv-00720-JED-PJC Document 551 Filed in USDC ND/OK on 09/22/17 Page 8 of 25




   36 depositions, Plaintiff took 23 depositions.       A list of depositions is attached as Exhibit A.

   Over the next year an additional five scheduling orders entered by the Court. Dkt. No. 8; Dkt.

   No. 115; Dkt. No. 144; and Dkt. No. 173. Discovery concluded on December 16, 2013. (Dkt.

   No. 180). On September 10, 2014, the Court ordered that Does I-X be dismissed from the

   lawsuit. (Dkt. No. 300).

          In January of 2014, Motions for Summary Judgment were filed on behalf of all

   defendants – Defendant Luca (CHC Nurse), Dkt. No. 213; Defendant Chappell (CHC Nurse),

   Dkt. No. 214; Defendant Hightower (CHC Nurse), Dkt. No. 215; Defendant CHC/CHM/CHMO,

   Dkt. No. 216; Defendant Pitt (Owasso Police Officer), Dkt. No. 219; Defendant Townsend

   (Owasso Police Officer), Dkt. No. 220; Defendant Mutti (Owasso Police Officer) Dkt. No. 221;

   Defendant Wells (Owasso Police Officer) Dkt. No. 222; and Defendant Glanz (Official and

   Individual Capacity). Dkt. No. 224.

          While the motions were pending, the medical defendants including CHC reached an out

   of court settlement with the Plaintiff and they were dismissed from the instant suit in September

   of 2014. Dkt. No. 299. 30 months after the motions for summary judgment were filed on July

   20, 2016, the Court granted the motions for summary judgment filed on behalf of the police

   officer defendants for the City of Owasso. On that same day, the Court denied the motion for

   summary judgment filed on behalf of Stanley Glanz in his individual and official capacities.

   Dkt. 304.

          Thereafter, the matters proceed through pretrial and trial. This matter was tried before a

   jury on February 22, 2017, through March 20, 2017. A copy of the Daily Transcripts at trial is

   attached as Exhibit B. After several hours of deliberation, the jury returned a verdict for the

   Plaintiff and awarded $10,000,000.00 against Defendants Glanz and Regalado and an additional



                                                    4
Case 4:11-cv-00720-JED-PJC Document 551 Filed in USDC ND/OK on 09/22/17 Page 9 of 25




   $250,000.00 in punitive damages against Defendant Glanz. The verdict is the direct result of

   Plaintiff’s counsel’s improper appeal for a retributive, punitive, and deterrent award. In closing

   argument, Plaintiff’s counsel repeatedly, and explicitly, asked for a “verdict of historical

   significance” against the TCSO, urging the jury to “send a message” and “bring about the long-

   needed change within the sheriff’s office” as “vindication and justice for not only Elliot Williams

   but for all the victims of the broken system.” Post verdict, Defendants Glanz and Regalado

   submitted a Fed. R. Civ. P. 50(b) motion seeking judgment as a matter of law, and a 59(a)

   motion seeking a new trial, or, in the alternative, remittitur, Dkt Nos. 507 and 511. Defendants

   Glanz and Regalado also filed a Fed. R. Civ. P. 59(e) motion to alter/or amend the judgment

   (Dkt. 499) asking the Court to alter/amend the judgment to apply a set-off from monies

   previously collected in settlement with the Defendants Correctional Healthcare Defendants

   including Earnie Chappel, R.N.; Carmen Luca, L.P.N.; and Julie Hightower in this case.

   Defendants Glanz and Regalado have also filed a Motion to Disclose the settlement amount

   previously collected by Plaintiffs from the Correctional Healthcare Defendants. Dkt. No. 505.

          II.     ARGUMENT & AUTHORITIES

          The United States Supreme Court has held that the lodestar approach is the preferred

   method to use when determining an award of attorney’s fees under § 1988. See Perdue v. Kenny

   A., 130 S. Ct. 1662, 1672 (2010). Under the lodestar method, the court multiplies a reasonable

   hourly rate by the number of hours reasonably expended on the case by counsel. See Bell v. Bd.

   of Cnty. Comm’rs of Jefferson Cnty., 451 F.3d 1097, 1101 (10th Cir. 2006). In Perdue, the court

   held that the lodestar method “yields a fee that is presumptively sufficient” to encourage

   attorneys to take on civil rights cases and this presumption is a “strong” one. Perdue, 130 S. Ct.

   at 1673.



                                                   5
Case 4:11-cv-00720-JED-PJC Document 551 Filed in USDC ND/OK on 09/22/17 Page 10 of 25




              The Tenth Circuit has likewise adopted the “lodestar” approach for determining

    attorneys’ fees under § 1988. See, e.g., Bell, 451 F.3d at 1101 n.3 (“Courts determine what is a

    reasonable fee by first figuring a ‘lodestar’ amount and then adjusting that figure based on facts

    specific to the case.”); Dill v. City of Edmond, 72 F. App’x 753, 757 (10th Cir. 2003) (“To

    determine the reasonableness of a fee request, a court must begin by calculating the so-called

    ‘lodestar amount’ of a fee, and a claimant is entitled to the presumption that this lodestar amount

    reflects a ‘reasonable’ fee.” (quoting Robinson v. City of Edmond, 160 F.3d at 1281)); Phelps v.

    Hamilton, 120 F.3d 1126 at 1131 (“A court will generally determine what fee is reasonable by

    first calculating the lodestar . . . .”).

              The party seeking fees has the burden of establishing entitlement to an award and

    documenting the reasonable hours expended and a reasonable rate. See Hensley v. Eckhart, 461

    U.S. at 437, 103 S. Ct. at 1941; Case v. Unified School District No. 233, 157 F.3d 1243,

    1249(10th Cir. 1998). After calculating the lodestar, the court may adjust the amount up or down

    based on certain factors. See Ramos v. Lamm, 713 F.2d 546, 552 (10th Cir. 1983). The

    benchmark for fee awards is that the attorneys' fee must be reasonable. See Mares v. Credit

    Bureau of Raton, 801 F.2d 1197, 1201 (10th Cir. 1986) (citing Pennsylvania v. Delaware Valley

    Citizens Council for Clean Air, 478 U.S. 546, 562, 106 S. Ct. 3088, 3094 (1986)). However,

    before considering any reduction or enhancement, the court must first determine the number of

    hours reasonably expended and a reasonable hourly rate for each attorney. See Ramos, 713 F.2d

    at 553.

              A. The requested hourly rate is unreasonable.

              In setting the hourly rate, the Court must determine what lawyers of comparable skill,

    experience and expertise practicing in the area in which the litigation occurs would charge for



                                                    6
Case 4:11-cv-00720-JED-PJC Document 551 Filed in USDC ND/OK on 09/22/17 Page 11 of 25




    their time. See Ramos 713 F.2d at 555. The objective of this analysis is to arrive at a prevailing

    market rate for counsel’s services. A reasonable fee in civil rights cases is calculated according

    to prevailing market rates. Blum v. Stenson, 465 U.S. 886, 895 (1984). In setting an hourly rate a

    court should establish, from information provided to it and from its own analysis, the level of

    performance and skills of each lawyer in private firms. Ramos, 713 F.2d at 555. Plaintiff sets

    forth the requested hourly rates of seven of her attorneys: Daniel Smolen $400, Donald Smolen

    $400, Bob Blakemore $300, Louis Bullock $350, Patricia Bullock $300, Tom Mortenson $325,

    and Greg Denney $300. Plaintiff’s Motion for Attorney Fees at p. 6. However, the total number

    of attorney fees requested on page 7 of the Motion is calculated based on hourly rates for Louis

    Bullock at $400 and Tom Mortenson at $350. 2 No reasonable rate is identified by Plaintiff for

    Stephanie Baker or Betty DeJong and Plaintiff has failed to meet the burden, as the lodestar

    cannot be calculated without a reasonable hourly rate.

            Attached as Ex. “C” is the 2016 Local Customary Rate Survey of Tulsa Law Firms. The

    survey reflects that for lawyers with 13-15 years of experience, the bulk of the attorneys claim a

    rate between $225.00 and $315.00. The maximum reported rate was $325.00. For attorneys

    with 16-18 years of experience, the rates ranged from $200.00 to $380.00. For attorneys with

    22-24 years of experience, the majority reported a rate between $260.00 and $355.00. Clearly,

    for attorneys with 13 years of experience (Daniel and Donald Smolen)3 the rate of $400.00 per

    hour cannot be supported as a reasonable market rate for their services. With the exception of

    2
      Plaintiff asks for a fee of $1,521,595.58, however, this number is miscalculated. The totals for the Bullock Law
    Firm and Thomas Mortensen are calculated based on a greater hourly rate than Plaintiff states in the body of the
    brief is reasonable. Louis Bullock’s total number of hours is multiplied by $400.00 per hour, when Plaintiff requests
    an hourly rate of $350.00. Tom Mortensen’s total number of hours is multiplied by $350, but the hourly rate
    requested by Plaintiff is $325. Applying the rates for Bullock and Mortenson requested by Plaintiff, the fee amount
    actually requested by Plaintiff would be $1,473,268.08.
    3
      Web research reflects that Daniel and Donald Smolen have been licensed to practice law since 2003. No affidavit
    included within the fee application sets forth their skill, experience and/or any expertise practicing in the area of
    civil rights.

                                                             7
Case 4:11-cv-00720-JED-PJC Document 551 Filed in USDC ND/OK on 09/22/17 Page 12 of 25




    Mr. Blakemore, none of the attorneys have proffered to the court any history concerning skill,

    experience and/or any expertise practicing in the area of civil rights.

           In 2013, the prevailing rate was determined to be from $250.00 to $300.00 per hour. See

    D.G. v. Yarbrough, U.S. District Court for the Northern District of Oklahoma, Case No. 08-CV-

    074-GFK-FHM. [Dkt. No. 858]. In 2010, Judge Miles-LaGrange found that $290.00 per hour

    was “towards the higher end for § 1983 litigation,” but appropriate in a civil rights-excessive

    force case in the Western District. See Bass v. Pottawatomie County Public Safety Center, U.S.

    District Court for the Western District of Oklahoma, Case No. CIV-06-397-M. [Dkt. No. 186].

           Based upon the foregoing, Defendants Glanz and Regalado request that the Court find

    that the following rates are reasonable:      Daniel Smolen $300, Donald Smolen $300, Bob

    Blakemore $300, Louis Bullock $350, Patricia Bullock $300, Tom Mortenson $300, and Greg

    Denney $300.

           B.      The requested number of hours is unreasonable.

           The first step in calculating fee awards is to determine the number of hours reasonably

    spent by counsel for the party seeking the fees. See Ramos, 713 F.2d at 553. Attorneys seeking

    fees must keep “meticulous, contemporaneous time records to present to the court upon request.”

    See id; Cunico v. Pueblo School Dist. No. 60, 705 F. Supp. 1466, 1467 (D. Colo. 1988). Time

    records for each attorney for whom fees are sought must reveal hours for which compensation is

    requested and how those hours were allotted to specific tasks. “[F]or example, how many hours

    were spent researching, how many interviewing the client, how many drafting the complaint, and

    so on.” See Ramos, 713 F.2d at 553. The court may discount requested attorney hours if the time

    keeper fails to keep such meticulous and contemporaneous time records. See Robinson v. City of

    Edmond, 160 F.3d 1275, 1281 (10th Cir. 1998). The court in its discretion may deny fee



                                                      8
Case 4:11-cv-00720-JED-PJC Document 551 Filed in USDC ND/OK on 09/22/17 Page 13 of 25




    applications or portions there of which are so inadequately documented to prevent determination

    of their reasonableness. See In re Cascade Oil Co., 126 B.R. 99, D. Kan. 1991).

           The Ramos court recognized that merely presenting meticulous and contemporaneous

    time records does not establish that the hours were properly billed. “Compiling raw totals spent,

    however, does not complete the inquiry. It does not follow that the amount of time actually

    expended is the amount of time reasonably expended.” See Ramos, 713 F.2d at 553 (quoting

    Copeland v. Marshall, 641 F.2d at 891). “In the private sector, billing judgment is an important

    component in fee setting. It is no less important here. Hours that are not properly billed to one's

    client also are not properly billed to one's adversary pursuant to statutory authority.” See id.

    (internal punctuation omitted). It is the applicant's burden to make a good faith effort to exclude

    that time which is not reasonably billable to the non-prevailing party. See Ellis v. University of

    Kansas Medical Center, 163 F.3d 1186, 1202 (10th Cir. 1998); Robinson, 160 F.3d at 1284;

    Sussman, 108 F.3d 1206, 1212 (10th Cir. 1997).

           When scrutinizing the actual hours reported, the district court should distinguish raw time

    from hard or billable time to determine the number of hours reasonably expended. See Ramos,

    713 F.2d at 553. Ramos identified a number of factors to be considered in making this

    determination. See id. at 554. Even with a good faith effort to exclude non-billable time, the

    district court must undertake a review of the application to determine not just the actual hours

    expended by counsel, but which of those hours were reasonably expended in the litigation. See

    Ramos, 713 F.2d at 553. See In re Cascade Oil Co., 126 B.R. 99, 105 (D. Kan. 1991).

           In reviewing the hours reported for tasks that are properly billable, the district court

    should evaluate the hours spent on each task to determine their reasonableness. See id. In Ramos

    more than 100 hours were spent drafting the complaint. While the court stated that this amount



                                                    9
Case 4:11-cv-00720-JED-PJC Document 551 Filed in USDC ND/OK on 09/22/17 Page 14 of 25




    of time might be reasonable, “it demands explanation.” See id. In making this reasonableness

    determination, the district court should consider that what is reasonable in a particular case can

    “depend upon factors such as the complexity of the case, the number of reasonable strategies

    pursued, and the responses necessitated by the maneuvering of the other side.” See id.

           Potential duplication of services is another factor to be examined in determining the

    reasonableness of hours expended in a particular case. See id. “For example, if three attorneys

    are present at a hearing when one would suffice, compensation should be denied for the excess

    time.” See id. (citing Copeland, 641 F.2d at 891). Similarly, if more than one attorney performs

    the same task, multiple compensation should be denied. “The more lawyers representing a side

    of the litigation, the greater the likelihood will be for duplication of services.” See Ramos, 713

    F.2d at 554.

           In Ramos, the plaintiffs sought compensation for the time of more than a dozen attorneys.

    At least five of these attorneys spent more than 200 hours each on the case. Two spent more than

    2000 hours each. See id. While acknowledging the possibility that this much time was necessary,

    the court stated that the “vast number of hours reported raises the question of duplication.” See

    id. District courts were instructed to review fee application for possible duplication by paying

    particular attention to “the number of lawyers present at hearings, depositions, and other

    discovery proceedings, and by evaluating the roles played by the lawyers in the litigation

    generally.” See id. Although the court acknowledged that using more than one attorney may be

    reasonable in certain situations, such as during settlement conferences or during trial, the court

    directed district courts to give particular attention to the possibility of duplication. See id. While

    the court can look to how many lawyers the other side utilized in similar situations as an

    indication of the effort required in opposition, this is not determinative of the reasonableness of



                                                     10
Case 4:11-cv-00720-JED-PJC Document 551 Filed in USDC ND/OK on 09/22/17 Page 15 of 25




    the fee applicant's own time. See Robinson, 160 F.3d at 1284 (“The evidence of the hours

    expended by defense counsel is not, of course, an immutable yardstick of reasonableness, and it

    may be disregarded or discounted as a comparative factor if found to be unreasonable in its own

    right.”).

                   1.     Time billed relating to prosecuting Plaintiff’s case against other
                          Defendant’s

            On February 6, 2014, a Stipulation of Dismissal for CHC was filed. (Dkt. No. 231). On

    September 10, 2014, the Court granted Plaintiff’s Motion to Dismiss, with prejudice, the

    Correctional Healthcare defendants including Earnie Chappel, R.N.; Carmen Luca, L.P.N.; and

    Julie Hightower from the lawsuit. (Dkt. 299). On September 10, 2014, 30 months after motions

    for summary judgment were filed, the Court ordered that Does I-X be dismissed from the

    lawsuit. (Dkt. No. 300). On July 20, 2016, the Court granted the Owasso defendants motions

    for summary judgment dismissing them from the instant lawsuit. (Dkt. No. 304). The services

    billed prior to the dismissal of the other named defendants in this case should not be charged to

    Defendants Glanz and Regalado, as they were not necessary to the case against Glanz and

    Regalado.

            For example, corporate disclosure statements, attorney appearances, research regarding

    CHMO, CHM, CHC, drafting the dismissal, Plaintiff’s settlement agreement with CHC, the

    deposition of Houston, communications with counsel for CHC, Motions to Compel, Motions to

    Quash, and analysis of CHC financials were billed, but not necessary for prosecuting the claim

    against Glanz and Regalado. Glanz filed one of the eleven (11) answers that were filed by

    Defendants in this case between April 30, 2012, and May 3, 2012. (Dkt. No. 22-29). The answers

    were reviewed by DES, DESII, LWB, PWB, and RMB, for a total of 9 hours. See Exhibit D,

    Figure 14. On April 30, 2012, DES and DESII each billed 1.6 hours, with identical descriptions

                                                   11
Case 4:11-cv-00720-JED-PJC Document 551 Filed in USDC ND/OK on 09/22/17 Page 16 of 25




    “Review of Defendants Filed Answers.” On May 3, 2012, LWB and PWD billed 0.6 and 0.4

    hours respectively, with identical descriptions “Receive and review two additional e-filings of

    Defendants’ answers.” Not all of the 9 hours billed were attributable to Defendant Glanz.

           The time billed for the First Amended Complaint should not be imposed upon Glanz, as

    the amendment adding several defendants including Earnie Chappel, R.N.; Carmen Luca, L.P.N.;

    and Julie Hightower (all employees of Correctional Healthcare) and several Owasso Police

    Officers, did not change with regard to the claims against Glanz. (Dkt. No. 4).

           The time billed for review and responses to eight (8) motions for summary judgment filed

    by CHC/CHM/CHMO, CHC employees, and Owasso Officers should not be charged against

    Glanz and Regalado. See Dkt. No. 213, 214, 215, 216, 219, 220, 221, 222.

           Prior to the dismissal of the other named Defendants in this case, DES billed 561.6 hours

    (Ex. D, Figure 18), DESII billed 124.1 hours (Ex. D, Figure 19), LWB billed 662.7 hours (Ex.

    D, Figure 20), PWB billed 75.9 hours (Ex. D, Figure 21), and RMB billed 910.3 hours (Ex. D,

    Figure 22), for a total of 2334.6 hours. Counsel proposes a 50% reduction in the total number of

    hours prior to the time the remaining defendants were dismissed from the action.

                   2.     Don and Dan Smolen duplicative and identical Billing

           The billing entries of Don and Dan Smolen do not reflect the “meticulous,

    contemporaneous time records,” required for an award of an attorney fee. See id; Cunico v.

    Pueblo School Dist. No. 60, 705 F. Supp. 1466, 1467 (D. Colo. 1988). Don and Dan Smolen’s

    billing entries are not only duplicative of the services rendered, but the entries are mostly

    identical. See Ex. D, Figure 24. The identical and nearly identical billing entries total 818.8




                                                   12
Case 4:11-cv-00720-JED-PJC Document 551 Filed in USDC ND/OK on 09/22/17 Page 17 of 25




    hours. 4 As further indicia of duplicative, non-contemporaneous billing, on November 10, 2011,

    DES and DESII submitted identical billing entries, each totaling 4.7 hours, purporting to have

    made revisions, suggested edits, and discussed the Complaint, though RMB did not draft the

    Original Complaint until 7 days later. Id. These identical entries should be reduced by 50%.

                   3.     Tom Mortenson’s Application should be denied in its entirety as
                          duplicative, block billing, and vague.

            Beginning on December 16, 2016, and ending on February 5, 2017, Mortenson submits

    49 billing entries totaling 294.9 hours, each of which are impermissible block billing and do not

    contain adequate detail to allow the Court to determine the reasonableness of the time spent or

    the activity performed. See Ex. D, Figure 6. In addition to Mortenson’s vague activity

    descriptions, his purported participation in this matter is duplicative of the work already

    performed by six other lawyers. Mr. Mortenson was not part of the original group of lawyers

    who filed and litigated the case but entered his appearance in the months preceding the trial in

    2017. At trial Mr. Mortenson conducted the direct examination of three witnesses only two of

    which were deposed in this matter. Mr. Mortenson asked to be excused from trial on the

    morning of March 10, 2017 due to illness and could not complete the redirect of Witness Hanley

    although his time records reflect a full day of trial. Mr. Mortenson’s vague descriptions do not

    allow the Court to examine the reasonableness or necessity of his time entries. Mortenson billed

    for witnesses, re-directs, opening, and closing in a block billing format even though he

    participated very little in the actual conduct of trial. His status is more of advisor to the trial

    attorneys rather than an actual participant making his time billing entries duplicative,

    unreasonable and unnecessary for the trial of this when 5 other attorneys also conducted or



    4
    Of the 818.8 hours, 610 of the duplicative hours were billed after the dismissal of the other
    Defendants in this matter. See Figure 25.
                                                    13
Case 4:11-cv-00720-JED-PJC Document 551 Filed in USDC ND/OK on 09/22/17 Page 18 of 25




    attended the trial of this matter. The attorney fee application with regard to Mortenson’s billing

    should be denied in its entirety, resulting in a reduction of $103,215.00 (294.9 hours *

    $350.00/hour).

                     4.    Bullock’s billing during trial should be excluded as not necessary to
                           the litigation.

           From February 24, 2017, through March 17, 2017, LWB billed 122.3 hours for sitting

    through jury trial and reviewing electronic court filings. See Ex. D, Figure 15. During this period,

    LWB billed an additional 7.7 hours for reviewing the transcript and drafting an outline of Dr.

    Harnish’s testimony, and 1.3 hours emailing co-counsel with suggestions for closing. The 122.3

    hours Bullock sat through trial and reviewed electronic filings was not necessary to the litigation

    and was duplicative of work being performed by a number of other lawyers. Mr. Bullock, able as

    he is, did not open, close, or examine a witness, nor did he make any arguments on trial motions

    or evidentiary matters.

                           a.      Denney’s billing consists of duplicative block billing.

           From February 22, 2017, through March 23, 2017, Denney blocked billed 8 hours per

    day. Denney’s mere presence at trial did not add any value to the case, and was duplicative of the

    worked performed by other attorneys in the case. Moreover Denney’s description of the service

    rendered is “Trial.” Denney’s conduct at trial consists of a direct examination of a single witness

    on the 11th day of trial. These entries should be denied in their entirety for a reduction of

    $52,800.00 (22 days * 8 hours * 300/hour).

           The balance of the entries from the Denney Law Firm should be denied for failure to

    “provide adequate detail to permit a meaningful review of the reasonableness of the activity.”

    Oklahoma Natural Gas Co. v. Apache Corp., 355 F.Supp.2d 1246 (2004). Denney’s billing

    should be denied in its entirety for a total reduction of $90,600.00.

                                                     14
Case 4:11-cv-00720-JED-PJC Document 551 Filed in USDC ND/OK on 09/22/17 Page 19 of 25




                           b.     Guardianship, Contracting with Plaintiff, and fee agreements
                                  between Plaintiff’s counsel

           Time billed for Plaintiff’s separate guardianship matter, contracting and contract issues

    with the Plaintiff, and meeting between Plaintiff’s counsel concerning their fee agreements

    should be excluded, as services that were not necessary to the litigation or were of the Plaintiff’s

    own making. These entries make up 37.7 hours and should be excluded.

                           c.     The Fee application contains extensive duplication and the
                                  total number of hours expended for certain tasks is excessive.

                                  1) Original and First Amended Complaint.

           On November 17, 2011, Elia Patricia Lara-Williams brought suit against Stanley Glanz,

    in his individual capacity for supervisory liability, and in his official capacity, Correctional

    Healthcare Management and Does I through XX. (Dkt. No. 2). From November 10, 2011, the

    date of the first billing entry, until November 17, 2011, the filing of the original Complaint,

    attorneys DES, DESII, LWB, PWB, and RMB submitted billing totaling 22.9 hours. See Ex. D,

    Figure 1. RMB drafted the Original Complaint, submitting billing for 0.8 hours of legal research,

    6 hours of drafting, and 2 hours of revisions; LWB billed 1.3 hours for review, revisions,

    conferences, and communications with RMB concerning the Original Complaint; and PWB

    billed 0.5 hours for reviewing the Complaint and conferring with LWB and RMB.

           On November 10, 2011, DES and DESII submitted identical billing entries, each totaling

    4.7 hours, purporting to have made revisions, suggested edits, and discussed the Complaint,

    though RMB did not draft the Original Complaint until 7 days later. Id. LWB, DESII, and RMB

    submitted billing entries for emails and telephone conferences between each other concerning a



                                                    15
Case 4:11-cv-00720-JED-PJC Document 551 Filed in USDC ND/OK on 09/22/17 Page 20 of 25




    Tulsa World News Article, totaling 1.9 hours, filing and service of the Original Complaint,

    totaling 0.7 hours, and other unspecified communications between co-counsel totaling 0.3 hours.

    See Ex. D, Figure 1.

           On March 16, 2012, Elia Patricia Lara-Williams amended her complaint adding several

    defendants including Earnie Chappel, R.N.; Carmen Luca, L.P.N.; and Julie Hightower (all

    employees of Correctional Healthcare) and several Owasso Police Officers. (Dkt. No. 4).

           RMB drafted the First Amended Complaint and billed 59.6 hours for drafting, research,

    and revisions. See Ex. D, Figure 2. LWB billed 10 hours for conferences and emails with RMB,

    reviewing emails between RMB and DES, revisions. See Ex. D, Figure 3. PWB billed 4.1 hours

    for performing the same work as LWB. See Ex. D, Figure 4.

           On March 15, 2012, DES and DESII submitted identical billing entries, each totaling 1.8

    hours, purporting to have discussed and reviewed the Amended Complaint. See Ex. D, Figure 5.

    On February 6, 2012, DES billed for receiving an email from RMB and meeting concerning the

    Amended Complaint. On March 16, 2012 DES billed 0.7 hours for reviewing an email from

    RMB concerning the amended complaint. DES’s February 6, 2012, and March 16, 2012, entries

    are duplicative of the work performed by LWB and PWB. Id.

                                 2) Mediation

           DES, DESII, LWB, and RMB, each billed for attending mediation, for a total of 27.5

    hours. See Ex. D, Figure 7. DES billed 2.8 hours for communications with co-counsel and

    generic “prepar[ation] for mediation.” See Ex. D, Figure 8. DESII, whose billing descriptions are

    virtually identical DES’s, also billed 2.8 hours for communications with co-counsel and generic

    “prepar[ation] for mediation.” See Ex. D, Figure 9. LWB billed 44.3 hours for preparation for

    mediation, communications with co-counsel, and drafting the mediation statement. See Ex. D,



                                                   16
Case 4:11-cv-00720-JED-PJC Document 551 Filed in USDC ND/OK on 09/22/17 Page 21 of 25




    Figure 10. PWB billed 2.1 hours reviewing the mediation statement, conferring with co-counsel,

    and preparing for mediation. See Ex. D, Figure 11. RMB billed 88.4 hours for preparation for

    mediation, communications with co-counsel, and drafting the mediation statement. See Ex. D,

    Figure 12.

                                  3) Joint Status Report

           Attorneys LWB, RMB, DES, and DESII, billed a total of 7.3 hours drafting and

    reviewing the Joint Status Report. See Ex. D, Figure 13. On May 17, 2012, RMB billed 1 hour

    for drafting the Joint Status Report. On May 18, 2012, LWB billed 0.2 hours reviewing RMB’s

    draft of the Joint Status Report. On May 24, 2012, RMB billed 0.4 hours for reviewing Glanz’s

    additions to the Joint Status Report and emailing Glanz’s counsel, and LWB billed 0.3 hours for

    reviewing Glanz’s additions to the Joint Status Report, and reviewing the email sent by RMB to

    Glanz’s counsel. On May 25, 2012, RMB billed 0.4 hours reviewing counsel Scott Wood’s

    additions to the Joint Status Report, and an additional 1 hours completing the Joint Status Report.

    Likewise, LWB billed 0.3 hours for final review of the Joint Status Report. DES and DESII

    submitted identical billing descriptions, describing the activity as “Final Review of Joint Status

    Report,” and each billing 0.3 hours.

           On July 12, 2012, RMB billed 0.7 hours reviewing the Joint Status Report he previously

    drafted, updated the draft, and emailed co-counsel regarding the Joint Status Report, and LWB

    billed 0.5 hours for reviewing the email from RMB and RMB’s draft of the Joint Status Report.

    On July 13, 2012, LWB billed an additional 0.4 hours reviewing the Joint Status Report and

    sending emails to unidentified persons. On July 16, 2012, RMB billed 0.4 hours reviewing the

    final draft of the Joint Status Report and approving it for filing. Also on July 16, 2012, DES and

    DESII again submitted identical billing descriptions, describing the activity as “Final Review of



                                                    17
Case 4:11-cv-00720-JED-PJC Document 551 Filed in USDC ND/OK on 09/22/17 Page 22 of 25




    Joint Status Report,” and each billing 0.3 hours. LWB billed 0.1 hours for receiving and

    reviewing the e-filed Joint Status Report, and PWB billed 0.4 hours for the same.

                              d.     The fee application contains inadequate description details,
                                     which deprives the Court an opportunity for meaningful
                                     review of the reasonableness of the activity.

               The fee application contains activity descriptions that do “not provide adequate detail to

    permit a meaningful review of the reasonableness of the activity,” and such entries should be

    excluded Oklahoma Natural Gas Co. v. Apache Corp., 355 F.Supp.2d 1246 (2004). A minimum

    of 29.3 hours should be excluded for lack adequate descriptions, as shown in Ex. D, Figure 26.

    III.       EXPERT TESTIMONY

               Defendants have engaged the services of Terry Thomas, a practicing attorney in Tulsa,

    Oklahoma, member of the Oklahoma Bar, and admitted in the Northern District of Oklahoma to

    provide review and expert testimony regarding the prevailing market rate for attorneys; and that

    the expenditure of hours in this matter by Plaintiff’s attorneys and fees and expenses sought are

    unreasonable with specificity. He is reviewing materials and will be prepared to testify at a

    hearing in this matter.

    IV.        CONCLUSION

               The total billing of Stephanie Baker and Betty DeJong should be disallowed, as Plaintiff

    failed to offer or support a reasonable hourly rate for the services of these paralegals. Mortenson

    and Denney should be excluded as having inadequate descriptions, block billing, and duplicative

    billing.

               Of the 819.10 hours billed by LWB, 331.35 should be disallowed, representative of ½ the

    number of hours he billed prior to the dismissal of the other defendants in this case. In addition,

    122.3 hours should be disallowed, representative of his block billing during trial. The resulting



                                                       18
Case 4:11-cv-00720-JED-PJC Document 551 Filed in USDC ND/OK on 09/22/17 Page 23 of 25




    reasonable number of hours is 365.45, multiplied by the reasonable rate ($350), would equal

    $127,907.50.

           Of the 86.40 hours billed by PWB, 37.95 should be disallowed, representative of ½ the

    number of hours she billed prior to the dismissal of the other defendants in this case. The

    resulting reasonable number of hours is 48.45, multiplied by the reasonable rate ($300), would

    equal $14,535.00.

           Of the 1472.4 hours billed by RMB, 445.15 should be disallowed, representative of ½ the

    number of hours he billed prior to the dismissal of the other defendants in this case. The resulting

    reasonable number of hours is 1027.25, multiplied by the reasonable rate ($300), would equal

    $308,100.00.

           Of the 729.0 hours billed by DES, 280.80 should be disallowed, representative of ½ the

    number of hours he billed prior to the dismissal of the other defendants in this case. In addition,

    152.5 hours should be disallowed, representative of 1/2 the number of hours he identically billed

    with DESII. The resulting reasonable number of hours is 295.7, multiplied by the reasonable

    rate ($300), would equal $88,710.00.

           Of the 405.9 hours billed by DESII, 62.05 should be disallowed, representative of ½ the

    number of hours he billed prior to the dismissal of the other defendants in this case. In addition,

    152.5 hours should be disallowed, representative of 1/2 the number of hours he identically billed

    with DES. The resulting reasonable number of hours is 191.35, multiplied by the reasonable rate

    ($300), would equal $57,405.00.

           The resulting fee is $596,657.50, subject to further reduction for the number of hours

    billed for the guardianship, contracting with the Plaintiff, and fee agreements between Plaintiff’s




                                                    19
Case 4:11-cv-00720-JED-PJC Document 551 Filed in USDC ND/OK on 09/22/17 Page 24 of 25




    counsel (a minimum of 37.7 hours), and entries containing inadequate descriptions (a minimum

    of 29.3 hours).

           Based upon the foregoing, Defendants object to the Attorney’s Fees and Expenses sought

    by Plaintiff as they are unreasonable. Defendants request that any award be stayed during post-

    trial challenges and appeals of the judgment.

                                                    Respectfully submitted,



                                                    /s/ Katie S. Arnold
                                                    Clark O. Brewster, OBA #1114
                                                    Guy A. Fortney, OBA #17027
                                                    Katie S. Arnold, OBA #32345
                                                    BREWSTER & DE ANGELIS, PLLC
                                                    2617 E. 21st Street
                                                    Tulsa, OK 74114
                                                    Attorneys for Defendants Stanley Glanz
                                                    And Vic Regalado




                                                      20
Case 4:11-cv-00720-JED-PJC Document 551 Filed in USDC ND/OK on 09/22/17 Page 25 of 25




                                        CERTIFICATE OF SERVICE


            I hereby certify September 22, 2017 I electronically transmitted the foregoing document using the

    ECF System for filing and transmittal of a Notice of Electronic Filing to all ECF registrants who have

    appeared in this case.




                                                            _/s/ Katie S. Arnold
                                                            Katie S. Arnold




                                                       21
